Case 3:23-cr-00063-TJC-MCR Document1 Filed 04/12/23 Page 1 of 5 PagelD 1

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 19
JACKSONVILLE DIVISION W023 APR 12 PH 3:3
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JACKSON

UNITED STATES OF AMERICA
Me CASE NO. 3:23-cr- fo3- TIC- HER,

21 U.S.C. § 841(a)(1)
EDWIN SHERWOOD GUSTAFSON, IV 18 U.S.C. § 922(g)(1)

INDICTMENT

The Grand Jury charges:

COUNT ONE

On or about January 21, 2023, in the Middle District of Florida, and
elsewhere the defendant,

EDWIN SHERWOOD GUSTAFSON, IV

did knowingly and intentionally possess with intent to distribute a controlled
substance, which violation involved a mixture and substance containing a detectable
amount of methamphetamine, a Schedule II controlled substance.

In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

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Case 3:23-cr-00063-TJC-MCR Document1 Filed 04/12/23 Page 2 of 5 PagelD 2

COUNT TWO

On or about January 21, 2023, in the Middle District of Florida, and

elsewhere the defendant,

EDWIN SHERWOOD GUSTAFSON, [V

did knowingly and intentionally possess with intent to distribute a controlled

substance, which violation involved a mixture and substance containing a detectable

amount of cocaine, a Schedule IJ controlled substance.

In violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C).

COUNT THREE

On or about January 21, 2023, in the Middle District of Florida, and

elsewhere the defendant,

EDWIN SHERWOOD GUSTAFSON, IV

knowing that he had previously been convicted in any court of a crime punishable by

imprisonment for a term exceeding one year, including:

Ll.
2,

Shooting or Throwing Deadly Missiles, on or about July 9, 2015;
Felony Battery (Domestic) and Grand Theft, on or about July 8, 2016;

Flee or Elude Law Enforcement Officer with Disregard for Safety to
Persons or Property, on or about September 16, 2019;

Drug Possession of Controlled Substance without Prescription (Heroin)
and Marijuana Possession over 20 grams, on or about December 21,
2021; and

Resist Officer Flee Elude a Law Enforcement Officer with Light Siren
Active, on or about December 21, 2021;

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Case 3:23-cr-00063-TJC-MCR Document1 Filed 04/12/23 Page 3 of 5 PagelD 3

did knowingly possess, in and affecting interstate and foreign commerce, a firearm
and ammunition, that is:

1. a Smith and Wesson, 9mm pistol and

2. 15 SIG 9mm LUGER rounds of ammunition.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8).

FORFEITURE

1. The allegations contained in Counts One and Two are incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of 21
U.S.C. § 853. The allegations contained in Count Three are incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of 18
U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of 21 U.S.C. § 841(a)(1), the defendant
shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a)(1) and (2), any
property constituting, or derived from, any proceeds the defendant obtained, directly
or indirectly, as a result of such violation, and any property used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of, such
violation. Upon conviction of a violation of 18 U.S.C. §§ 922(g), the defendant shall
forfeit to the United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c),
all firearms and ammunition involved in or used in the violation.

a The property to be forfeited includes, but is not limited to, the

following:

Case 3:23-cr-00063-TJC-MCR Document1 Filed 04/12/23 Page 4 of 5 PagelD 4

a. a Smith and Wesson, 9mm pistol, serial #FDD3193
b. 15 SIG 9mm LUGER rounds of ammunition.
4. If any of the property described above, as a result of any acts or

omissions of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property, which cannot be

divided without difficulty,
the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

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Foreperson

ROGER B. HANDBERG
United States Attorney

By: Vosuc C. te

Kevin C. Frein
Assistant United States Attorney

By: ELA

“Frank M. Talbot
Assistant United States Attorney
Chief, Jacksonville Division

Case 3:23-cr-00063-TJC-MCR Document1 Filed 04/12/23 Page 5 of 5 PagelD 5

FORM OBD-34
4/12/23 Revised No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA
VS.

EDWIN SHERWOOD GUSTAFSON, IV

INDICTMENT

Violations: CTs 1 & 2: 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C)
CT 3: 18 U.S.C. §§ 922(g)(1) and 924(a)(8)

A true bill

~ Foreperson

Filed in PELE

of April, 2023.

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